Case 1:21-cv-20550-CMA Document 7 Entered on FLSD Docket 03/04/2021 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 21-20550-CIV-ALTONAGA/Torres

 UNITED STATES OF AMERICA,

        Plaintiff,
 vs.

 LISETTE LOPEZ,

       Defendant.
 _______________________________/

                      ORDER REQUIRING SCHEDULING REPORT
                     AND CERTIFICATES OF INTERESTED PARTIES 1

        By April 26, 2021, or within ten (10) days of Defendant appearing in this matter,

 whichever is earlier, the parties are directed to prepare and file a joint scheduling report, as

 required by Local Rule 16.1; as well as certificates of interested parties and corporate disclosure

 statements that contain a complete list of persons, associated persons, firms, partnerships, or

 corporations that have a financial interest in the outcome of this case, including subsidiaries,

 conglomerates, affiliates, parent corporations, and other identifiable legal entities related to a

 party. Throughout the pendency of the action, the parties are under a continuing obligation to

 amend, correct, and update the certificates.

        DONE AND ORDERED in Miami, Florida, this 4th day of March, 2021.



                                                          _________________________________
                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE
 cc:    counsel of record




        1
            The parties must not include Judge Altonaga and U.S. Magistrate Judge Torres as interested
 parties unless they have an interest in the litigation.
